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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

 UNITED STATES OF AMERICA,                        :

          Plaintiff,                              :     CASE NO. 2:22-CR-00194-EAS

 v.                                               :     JUDGE SARGUS

 BERNHARD JAKITS,                                 :     ORAL ARGUMENT REQUEST

          Defendant.                              :

                       DEFENDANT’S MOTION TO DISMISS COUNT NINE

         Pursuant to Federal Rule of Criminal Procedure 12, Defendant Bernhard Jakits respectfully

moves the Court to dismiss Count Nine of the superseding indictment (Doc. 46). The reasons in

support of this motion are set forth in the following Memorandum.

                                              Respectfully submitted,

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                                       MEMORANDUM

         Count Nine charges Defendant with receiving an “obscene matter” from an adult woman

through “a live-streamed visual depiction” which was a private video chat between two consenting

adults. Prosecution of such facts under 18 U.S.C. § 1462 is unprecedented, and for good reason.

Applying the obscenity statutes to private sexual conduct between consenting adults violates the

First and Fifth Amendments. The Court, therefore, should find § 1462 unconstitutional as applied

to the facts alleged here and dismiss Count Nine of the superseding indictment.

I.       BACKGROUND OF FACTS AND CHARGES

         Count Nine of the superseding indictment charges that “[o]n or about December 24, 2018,”

Defendant “knowingly received, via an interactive computer service, an obscene matter, to wit: a

live-streamed visual depiction of A.M., an adult female ….” The superseding indictment does not

specify the “obscene matter” that Defendant is alleged to have received or describe it in any way

other than stating it was “a live-streamed visual depiction of A.M., an adult female[.]” However,

one of the case agents has told the Defense that Count Nine is based on a video file entitled

file_0007793. That file is a recording of a private video chat between A.M. and Defendant wherein

an obviously-pregnant A.M. engages in sexual acts using sex toys and a shampoo bottle, among

other objects.

II.      LAW AND ARGUMENT

         To the best of Defense counsel’s knowledge, Count Nine of the superseding indictment

represents the first time the federal government has brought an obscenity charge against a

participant in a private video chat or call. There is no allegation of public display, sale or

commercial distribution (or non-commercial distribution, for that matter). All that is alleged is

that two consenting adults participated in a private video chat and that their conversation and/or



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actions during the video chat were obscene. There is not even an allegation that either of the

participants ever distributed a copy of the video chat to anyone, even each other; the chat itself is

alleged to be the transmission “received” by Defendant.

       Application of 18 U.S.C. § 1462 to these facts presents serious constitutional concerns.

       In Stanley v. Georgia, 394 U.S. 557 (1969), the Supreme Court held that a Georgia statute

prohibiting the possession of obscene matter, even within the home, was incompatible with the

First and Fourteenth Amendments. Id. at 568. Finding the statute too broad, the Court explained

that “traditional notions of individual liberty” and the paramount importance accorded in our

society to the “privacy of a person’s own home” create a “right to be free from state inquiry into

the contents of [one’s home] library.” Id. at 565. Thus, the government’s regulatory “power

simply does not extend to mere possession [of obscene materials] by the individual in the privacy

of his own home.” Id. at 568.

       To be sure, in subsequent decisions the Supreme Court has made clear that the First

Amendment’s protection for possession of obscene materials does not create a corresponding right

to sell, market, or distribute such materials to those exercising that right. For example, in United

States v. Reidel, 402 U.S. 351 (1971), the Court held that the right announced in Stanley did not

apply to those who “are routinely disseminating obscenity through the mails and who have no

claim, and could make none, about unwanted governmental intrusions into the privacy of their

home.” Id. at 354-55. In the Court’s words, “[w]hatever the scope of the ‘right to receive’ referred

to in Stanley, it is not so broad as to immunize” the advertising of obscene materials for sale and

the sending of such materials in the mail. Id. at 355. Neither does a private user have a right to

import obscene materials, to obtain them through the mail, or to transport them outside the home.




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See Smith v. United States, 431 U.S. 291, 307 (1977); United States v. Orito, 413 U.S. 139, 141

(1973); United States v. Thirty-Seven (37) Photographs, 402 U.S. 363, 376 (1971).

        Stanley and its progeny, however, addressed the possession of material depicting an

obscene matter, not the obscene matter itself—i.e., the conduct deemed obscene.                  While

subsequent cases may have limited the liberty interest recognized in Stanley to materials possessed

and maintained in the home, none of those cases suggested that obscenity laws could be applied

so as to criminalize participation in the obscene conduct itself in a private setting. That is the

“obscene matter” to which Count Nine is addressed in this case, i.e., allegedly obscene conduct

“live-streamed” in a private, video chat between two consenting adults.

        In fact, in a separate body of case law, the Supreme Court has spoken to the limits the

Constitution places on the criminal law in this area. In Lawrence v. Texas, 539 U.S. 558 (2003),

the Court held that the Due Process Clause prevents the government from burdening intimate,

consensual relationships by criminalizing private sexual acts. In Lawrence, the Court held a Texas

statute making it a crime for two persons of the same sex to engage in certain intimate sexual

conduct violated the liberty and privacy interests protected by the Due Process Clause of the

Fourteenth Amendment. Id. at 564, 573-78. As Justice Kennedy explained at the outset of his

opinion for the majority:

        Liberty protects the person from unwarranted government intrusions into a
        dwelling or other private places. In our tradition the State is not omnipresent in the
        home. And there are other spheres of our lives and existence, outside the home,
        where the State should not be a dominant presence. Freedom extends beyond
        spatial bounds. Liberty presumes an autonomy of self that includes freedom of
        thought, belief, expression, and certain intimate conduct.

Id. at 562.

        Whatever societal interests may justify prohibitions on the sale, distribution, importation

and other public dissemination of material depicting obscene matters, the Due Process Clause

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clearly protects the autonomy of consenting adults in engaging in intimate conduct. Indeed,

Stanley makes clear that Defendant has a First Amendment right to possess obscene material in

the privacy of his home. Private participation in the obscene matter itself, even via video chat,

cannot have less constitutional protection than the act of possessing material depicting such

conduct.    Recent advances in the quality of video chat applications and their widespread

availability have made digital communications an increasingly common means of interaction

between sexual partners. Individuals do not forfeit the constitutional protections that apply to their

private choices regarding intimate conduct merely because they use a computer or smartphone.

The criminal obscenity statues have never before been used to prosecute non-public conduct

between consenting adults, and the Court should not permit the government to start now.

                                           CONCLUSION

        For the reasons set forth above, Defendant respectfully requests that the Court find 18

U.S.C. § 1462 unconstitutional as applied to the conduct alleged in Count Nine of the superseding

indictment, i.e., participating in an allegedly obscene private video chat between consenting adults.

Count Nine, therefore, must be dismissed.

        We note that no evidentiary hearing is required or requested for this Motion. However,

pursuant to Local Civil Rule 7.1(b)(2) and Local Criminal Rule 1.2, Mr. Jakits respectfully

requests that the Court schedule oral argument on the instant Motion. We submit that argument is

essential to the fair resolution of the issues raised, especially in light of the constitutional nature of

the issues and the complexity of the factual and legal issues presented.

                                                Respectfully submitted,

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                                            Attorneys for Defendant Bernhard Jakits


                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing was filed with the Clerk of Court for

the United States District Court for the Southern District of Ohio using the CM/ECF system, which

will send notification of such filing to Assistant U.S. Attorneys Heather Hill and Emily

Czerniejewski, 303 Marconi Boulevard, Suite 200, Columbus, Ohio 43215, on February 6, 2023,

by electronic mail.

                                                    /s/ David H. Thomas
                                                    David H. Thomas, Trial Attorney




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